Case 2:17-cv-11910-MAG-DRG ECF No. 338 filed 07/12/18         PageID.7774    Page 1 of 3




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

USAMA JAMIL HAMAMA, et al.,
                                                     Case No. 2:17-cv-11910
        Petitioners and Plaintiffs,
                                                     Hon. Mark A. Goldsmith
   v.
                                                     Mag. David R. Grand
REBECCA ADDUCCI, et al.,
                                                     Class Action
        Respondents and Defendants.



           ORDER GRANTING PETITIONERS/PLAINTIFFS’
         MOTION TO FILE CERTAIN DOCUMENTS UNDER SEAL

        The Court has reviewed Petitioners’ Motion to File Certain Documents

 under Seal (Dkt 216), by which Petitioners seek to file under seal in the future

 unredacted copies of certain documents containing information about medical

 conditions of Petitioners and their families and sensitive details about Petitioners’

 reasons for fearing return to Iraq. Given the sensitive nature of the information

 contained in the declarations, Petitioners’ motion is GRANTED.

        The parties may, in the future, file documents under seal that contain

 medical information or describe activities or relationships of Petitioners that

 explain the basis for their fear of returning to Iraq. A copy of the document
Case 2:17-cv-11910-MAG-DRG ECF No. 338 filed 07/12/18    PageID.7775   Page 2 of 3




 redacting the sensitive information must also be filed to the public CM/ECF

 system.

 SO ORDERED.

 Date: July 12, 2018          s/ Mark A. Goldsmith
 Detroit, Michigan            MARK A. GOLDSMITH
                              United States District Judge
Case 2:17-cv-11910-MAG-DRG ECF No. 338 filed 07/12/18      PageID.7776    Page 3 of 3




                         CERTIFICATE OF SERVICE
The undersigned certifies that the foregoing document was served upon counsel of
record and any unrepresented parties via the Court's ECF System to their respective
email or First Class U.S. mail addresses disclosed on the Notice of Electronic Filing
on July 12, 2018.

                                     s/Karri Sandusky
                                     Case Manager
